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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            Case No. 8:05CR187
                                             )
                     Plaintiff,              )
                                             )
       v.                                    )             ORDER TO SEAL
                                             )
TONIA PLUNK,                                 )
                                             )
                     Defendant.              )


       IT IS ORDERED that, for good cause shown, defendant's Motion to Seal (Filing No. 86) is

granted. The document described in defendant's Motion to Seal is hereby ordered sealed.

       DATED this 24th day of October, 2005.

                                             BY THE COURT:




                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             United States District Judge
